    Case 3:19-cv-00926-JLS-LL Document 1-4 Filed 05/16/19 PageID.30 Page 1 of 6



                                       6(&Y0F/HRG
                                         &DVH1R
                                              

                                  7$%/(2)&217(176

                                               

         'HFODUDWLRQRI3DWULFLD3HL,Q6XSSRUWRI$SSOLFDWLRQIRUDQ2UGHUWR6KRZ&DXVHDQG
         $SSOLFDWLRQIRUDQ2UGHU&RPSHOOLQJ&RPSOLDQFHZLWK,QYHVWLJDWLYH6XESRHQDV«««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««

                                              ϭ

    Case 3:19-cv-00926-JLS-LL Document 1-4 Filed 05/16/19 PageID.31 Page 2 of 6



         
         ([KLELWWR3HL'HFODUDWLRQ«««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ««««««««««««««««««««««
         
         ([KLELWWR3HL'HFODUDWLRQ««««««««««««««««««««««
         




                                         Ϯ

    Case 3:19-cv-00926-JLS-LL Document 1-4 Filed 05/16/19 PageID.32 Page 3 of 6





                                         

                                         

                                         

                                         

                                         

                                         

                                         

                                         

                                         



                                         




                     EXHIBIT 1
    Case 3:19-cv-00926-JLS-LL Document 1-4 Filed 05/16/19 PageID.33 Page 4 of 6


                                          NON-PUBLIC
                           81,7('67$7(62)$0(5,&$
                                    %HIRUHWKH
                      6(&85,7,(6$1'(;&+$1*(&200,66,21
                                   $SULO


,QWKH0DWWHURI
                                                         25'(5',5(&7,1*35,9$7(
         &RUQFXFRSLD&RQVXOWLQJ//&                    ,19(67,*$7,21$1''(6,*1$7,1*
                                                         2)),&(56727$.(7(67,021<
/$

                                                         

                                                   ,

         7KH&RPPLVVLRQ¶VSXEOLFRIILFLDOILOHVGLVFORVHWKDW

       $      5RQDOG'%URXLOOHWWH-U ³%URXLOOHWWH´ ZDV D HQMRLQHGIURPYLRODWLQJ
6HFWLRQV D  F DQG D RIWKH6HFXULWLHV$FWRI ³6HFXULWLHV$FW´ DQG6HFWLRQV E 
DQG D  RIWKH6HFXULWLHV([FKDQJH$FWRI ³([FKDQJH$FW´ DQG5XOHE
WKHUHXQGHU E EDUUHGIURPSDUWLFLSDWLQJLQDQ\SHQQ\VWRFNRIIHULQJDQG F EDUUHGIURP
DVVRFLDWLRQZLWKDQ\EURNHUGHDOHU In the Matter of Ronald D. Brouillette, Jr.$GPLQ3URF)LOH
1R5HOHDVH1R $XJ 

                                                   ,,

        7KH&RPPLVVLRQKDVLQIRUPDWLRQWKDWWHQGVWRVKRZWKDWIURPDWOHDVW

        $     &RUQXFRSLD&RQVXOWLQJ//& ³&RUQXFRSLD´ LVD&DOLIRUQLDOLPLWHGOLDELOLW\
FRPSDQ\ZLWKLWVSULQFLSDOSODFHRIEXVLQHVVLQ(QFLQLWDV&DOLIRUQLD&RUQXFRSLDLVQRW
UHJLVWHUHGZLWKWKH&RPPLVVLRQLQDQ\FDSDFLW\

        %      'LJQLWDV&RQVXOWLQJ//& ³'LJQLWDV´ LVD1HYDGDOLPLWHGOLDELOLW\FRPSDQ\ZLWK
LWVSULQFLSDOSODFHRIEXVLQHVVLQ/DV9HJDV1HYDGD'LJQLWDVLVQRWUHJLVWHUHGZLWKWKH
&RPPLVVLRQLQDQ\FDSDFLW\

        &     %URXLOOHWWHDJHUHVLGHVLQ(QFLQLWDV&DOLIRUQLDDQGLVDIILOLDWHGZLWK
&RUQXFRSLD%URXLOOHWWHZDVSUHYLRXVO\DUHJLVWHUHGUHSUHVHQWDWLYHEXWKDVQRWEHHQDVVRFLDWHG
ZLWKDEURNHUGHDOHUVLQFH$XJXVW

         '     -RKQ('RONDUW-U ³'RONDUW´ DJHUHVLGHVLQ6DQ'LHJR&DOLIRUQLD'RONDUW
LVDQDWWRUQH\OLFHQVHGE\WKH6WDWH%DURI&DOLIRUQLDDQGLVDIILOLDWHGZLWK'LJQLWDV'RONDUWLV
QRWUHJLVWHUHGZLWKWKH&RPPLVVLRQLQDQ\FDSDFLW\DQGQRWDIILOLDWHGZLWKDUHJLVWHUHGEURNHU
GHDOHURULQYHVWPHQWDGYLVHU




                                               Exhibit 1
                                                Page 7
Case 3:19-cv-00926-JLS-LL Document 1-4 Filed 05/16/19 PageID.34 Page 5 of 6



         (      ,QSRVVLEOHYLRODWLRQRI6HFWLRQ D RIWKH([FKDQJH$FW%URXLOOHWWH'RONDUW
&RUQXFRSLD'LJQLWDVDQGWKHLURIILFHUVGLUHFWRUVHPSOR\HHVSDUWQHUVVXEVLGLDULHVDQGRU
DIILOLDWHVDQGRURWKHUSHUVRQVRUHQWLWLHVZKLOHDFWLQJDVDEURNHURUGHDOHUPD\KDYHEHHQRU
PD\EHHIIHFWLQJWUDQVDFWLRQVLQRULQGXFLQJRUDWWHPSWLQJWRLQGXFHWKHSXUFKDVHRUVDOHRI
VHFXULWLHVZKHQVXFKSHUVRQVRUHQWLWLHVZHUHDQGDUHQRWUHJLVWHUHGZLWKWKH&RPPLVVLRQDVD
EURNHURUGHDOHURUZKHQVXFKSHUVRQVZHUHDQGDUHQRWDVVRFLDWHGZLWKDQHQWLW\UHJLVWHUHGZLWK
WKH&RPPLVVLRQDVDEURNHUGHDOHU:KLOHHQJDJHGLQWKHDERYHGHVFULEHGDFWLYLWLHVVXFK
SHUVRQVRUHQWLWLHVGLUHFWO\RULQGLUHFWO\PD\KDYHEHHQRUPD\EHPDNLQJXVHRIWKHPDLOVRU
DQ\PHDQVRULQVWUXPHQWDOLW\RILQWHUVWDWHFRPPHUFH

        )      ,QSRVVLEOHYLRODWLRQRI6HFWLRQ E  % L RIWKH([FKDQJH$FW%URXLOOHWWH
DQGRURWKHUSHUVRQVRUHQWLWLHVPD\KDYHEHHQRUPD\EHZLOOIXOO\EHFRPLQJZLWKRXWWKH
FRQVHQWRIWKH&RPPLVVLRQDVVRFLDWHGZLWKDEURNHURUGHDOHULQFRQWUDYHQWLRQRIDQRUGHULQ
HIIHFWDVWRVXFKSHUVRQVRUHQWLWLHVXQGHU6HFWLRQ E  $ RIWKH([FKDQJH$FW

         *      ,QSRVVLEOHYLRODWLRQRI6HFWLRQ D RIWKH6HFXULWLHV$FW%URXLOOHWWH'RONDUW
&RUQXFRSLD'LJQLWDVDQGWKHLURIILFHUVGLUHFWRUVHPSOR\HHVSDUWQHUVVXEVLGLDULHVDQGRU
DIILOLDWHVDQGRURWKHUSHUVRQVRUHQWLWLHVGLUHFWO\RULQGLUHFWO\LQWKHRIIHURUVDOHRIFHUWDLQ
VHFXULWLHVPD\KDYHEHHQRUPD\EHHPSOR\LQJGHYLFHVVFKHPHVRUDUWLILFHVWRGHIUDXG
REWDLQLQJPRQH\RUSURSHUW\E\PHDQVRIXQWUXHVWDWHPHQWVRIPDWHULDOIDFWRURPLWWLQJWRVWDWH
PDWHULDOIDFWVQHFHVVDU\LQRUGHUWRPDNHWKHVWDWHPHQWVPDGHLQWKHOLJKWRIWKHFLUFXPVWDQFHV
XQGHUZKLFKWKH\ZHUHRUDUHPDGHQRWPLVOHDGLQJRUHQJDJLQJLQWUDQVDFWLRQVSUDFWLFHVRU
FRXUVHVRIEXVLQHVVZKLFKRSHUDWHGRSHUDWHRUZRXOGRSHUDWHDVDIUDXGRUGHFHLWXSRQWKH
SXUFKDVHU$VSDUWRIRULQFRQQHFWLRQZLWKWKHVHDFWLYLWLHVVXFKSHUVRQVRUHQWLWLHVGLUHFWO\RU
LQGLUHFWO\PD\KDYHEHHQRUPD\EHDPRQJRWKHUWKLQJVPDNLQJIDOVHVWDWHPHQWVRIPDWHULDO
IDFWDQGRPLWWLQJWRGLVFORVHPDWHULDOIDFWVFRQFHUQLQJDPRQJRWKHUWKLQJVWKHXVHRILQYHVWRU
IXQGV:KLOHHQJDJHGLQWKHDERYHGHVFULEHGDFWLYLWLHVVXFKSHUVRQVRUHQWLWLHVGLUHFWO\RU
LQGLUHFWO\PD\KDYHEHHQRUPD\EHXVLQJDQ\PHDQVRULQVWUXPHQWVRIWUDQVSRUWDWLRQRU
FRPPXQLFDWLRQLQLQWHUVWDWHFRPPHUFHRUXVLQJWKHPDLOV

       +      ,QSRVVLEOHYLRODWLRQRI6HFWLRQ E RIWKH([FKDQJH$FWDQG5XOHE
WKHUHXQGHU%URXLOOHWWH'RONDUW&RUQXFRSLD'LJQLWDVDQGWKHLURIILFHUVGLUHFWRUVHPSOR\HHV
SDUWQHUVVXEVLGLDULHVDQGRUDIILOLDWHVDQGRURWKHUSHUVRQVRUHQWLWLHVGLUHFWO\RULQGLUHFWO\LQ
FRQQHFWLRQZLWKWKHSXUFKDVHRUVDOHRIFHUWDLQVHFXULWLHVPD\KDYHEHHQRUPD\EHHPSOR\LQJ
GHYLFHVVFKHPHVRUDUWLILFHVWRGHIUDXGPDNLQJXQWUXHVWDWHPHQWVRIPDWHULDOIDFWRURPLWWLQJ
WRVWDWHPDWHULDOIDFWVQHFHVVDU\LQRUGHUWRPDNHWKHVWDWHPHQWVPDGHLQOLJKWRIWKH
FLUFXPVWDQFHVXQGHUZKLFKWKH\ZHUHRUDUHPDGHQRWPLVOHDGLQJRUHQJDJLQJLQDFWVSUDFWLFHV
RUFRXUVHVRIEXVLQHVVZKLFKRSHUDWHGRSHUDWHRUZRXOGRSHUDWHDVDIUDXGRUGHFHLWXSRQDQ\
SHUVRQ,QFRQQHFWLRQZLWKWKHVHDFWLYLWLHVVXFKSHUVRQVRUHQWLWLHVGLUHFWO\RULQGLUHFWO\PD\
KDYHEHHQRUPD\EHDPRQJRWKHUWKLQJVPDNLQJIDOVHVWDWHPHQWVRIPDWHULDOIDFWDQGRPLWWLQJ
WRGLVFORVHPDWHULDOIDFWVFRQFHUQLQJDPRQJRWKHUWKLQJVWKHXVHRILQYHVWRUIXQGV:KLOH
HQJDJHGLQWKHDERYHGHVFULEHGDFWLYLWLHVVXFKSHUVRQVRUHQWLWLHVGLUHFWO\RULQGLUHFWO\PD\
KDYHEHHQRUPD\EHPDNLQJXVHRIDQ\PHDQVRULQVWUXPHQWDOLW\RILQWHUVWDWHFRPPHUFHRURI
WKHPDLOVRURIDQ\IDFLOLW\RIDQ\QDWLRQDOVHFXULWLHVH[FKDQJH


                                                   


                                                Exhibit 1
                                                 Page 8
    Case 3:19-cv-00926-JLS-LL Document 1-4 Filed 05/16/19 PageID.35 Page 6 of 6



                                                 ,,,

      7KH&RPPLVVLRQGHHPLQJVXFKDFWVDQGSUDFWLFHVLIWUXHWREHSRVVLEOHYLRODWLRQVRI
6HFWLRQ D RIWKH6HFXULWLHV$FWDQG6HFWLRQV E  D DQG E  % L RIWKH([FKDQJH
$FWDQG5XOHEWKHUHXQGHUILQGVLWQHFHVVDU\DQGDSSURSULDWHDQGKHUHE\

       25'(56SXUVXDQWWRWKHSURYLVLRQVRI6HFWLRQ D RIWKH6HFXULWLHV$FWDQG
6HFWLRQ D RIWKH([FKDQJH$FWWKDWDSULYDWHLQYHVWLJDWLRQEHPDGHWRGHWHUPLQHZKHWKHUDQ\
SHUVRQVRUHQWLWLHVKDYHHQJDJHGLQRUDUHDERXWWRHQJDJHLQDQ\RIWKHUHSRUWHGDFWVRU
SUDFWLFHVRUDQ\DFWVRUSUDFWLFHVRIVLPLODUSXUSRUWRUREMHFWDQG

      )857+(525'(56SXUVXDQWWRWKHSURYLVLRQVRI6HFWLRQ F RIWKH6HFXULWLHV$FW
DQG6HFWLRQ E RIWKH([FKDQJH$FWWKDWIRUSXUSRVHVRIVXFKLQYHVWLJDWLRQ0LFKHOH:HLQ
/D\QH$OND13DWHO-RKQ:%HUU\$QVX1%DQHUMHH6SHQFHU(%HQGHOO0DUF-%ODX
5REHUW&RQUUDG9LFWRULD$/HYLQ)LQROD+0DQYHOLDQ'LDQD.7DQL.DWH=RODG]0HOLVVLD
$%XFNKDOWHU+RQRUH$GULHQQH*XUOH\0DUN/DQFH-DVSHU&KULVWRSKHU1RZOLQ3DWULFLD3HL
5REHUWR$7HUFHUR5KRGD+&KDQJ&KULVWRSKHU&RQWH/RUUDLQH3HDUVRQ0DULD'5RGULJXH]
&DURO6KDX'RUD=DOGLYDUDQGHDFKRIWKHPDUHKHUHE\GHVLJQDWHGDVRIILFHUVRIWKH
&RPPLVVLRQDQGDUHHPSRZHUHGWRDGPLQLVWHURDWKVDQGDIILUPDWLRQVVXESRHQDZLWQHVVHV
FRPSHOWKHLUDWWHQGDQFHWDNHHYLGHQFHDQGUHTXLUHWKHSURGXFWLRQRIDQ\ERRNVSDSHUV
FRUUHVSRQGHQFHPHPRUDQGDRURWKHUUHFRUGVGHHPHGUHOHYDQWRUPDWHULDOWRWKHLQTXLU\DQGWR
SHUIRUPDOORWKHUGXWLHVLQFRQQHFWLRQWKHUHZLWKDVSUHVFULEHGE\ODZ

          )RUWKH&RPPLVVLRQE\WKH'LYLVLRQRI(QIRUFHPHQWSXUVXDQWWRGHOHJDWHGDXWKRULW\




                                          %UHQW-)LHOGV
                                         6HFUHWDU\





    &)5 D  
                                                  


                                               Exhibit 1
                                                Page 9
